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                       EXHIBIT D
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  Dissenting Report




          Dissenting Report for Adopted Congressional, Senate and State House Maps

                               Commissioner Rhonda Lange

                  Michigan Independent Citizens Redistricting Commission




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                                               Abstract

  This report is an evaluation and assessment of why I objected to the recently adopted plans and

  details not only my personal opinions on the plans’ creation but facts on input that the public

  gave that were ignored. I will not go into detail as to why I voted for other maps such as the

  Lange Congressional and Senate plans as the short and direct answer is I was told I HAD to vote

  for one. My personal choice would have been to not vote for any or abstain from voting due to

  not believing that we had reached truly fair maps that represented the voices of the public that

  we heard from. My stance was and still is that the Commission should have taken more time to

  work on maps and that none of the maps were truly fair.




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             Dissenting Report for Adopted Congressional, Senate and State House Maps


                                     Congressional Plan Chestnut

         The Congressional Chestnut Plan does a complete disservice to parts of Northern and

  Central Michigan. For example, District 2 takes the west coast of the state and runs it over and

  down to within two counties of the southern border of the state, which clearly is not compact and

  splits a total of six counties unnecessarily, which also goes against the criteria of considering

  county and township lines. District 8, while splitting three counties, needlessly splits off a

  township in Tuscola to add it to District 8 while splitting off a small township in Genesee

  County, that is in District 8 and putting it in District 7, again discounting county lines. District 3

  needlessly splits three counties and ignores input about communities of interest. Such is the case

  with Districts 4 and 5. I will say that the SE part of the state, including Districts 6, 10, 11, 12 and

  13, while not perfect from a split point of view due to population, I have no issues with;

  however, from a COI, it is my opinion that the Commission failed, especially as it relates to the

  African American population.


                                        Michigan Senate Linden

        The Michigan Senate Linden Plan does a disservice to “some” citizens of Michigan. While

  in the Senate plan Northern Michigan is a little more compact, once you get to Districts 33, 34

  and 31 multiple counties are needlessly split to make up districts. Districts 33 and 34 both have

  five county splits and consist mostly of rural areas that do not have high populations, so those

  splits are both unwarranted and unnecessary. While public comment about COIs for those areas

  was minimal due to a lack of outreach in my opinion, the comments that were received should

  have been taken into account. District 17 needlessly splits four counties in mostly rural areas and

  discounts the COI testimony given for those areas in my opinion. District 22 needlessly splits



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   five counties. As for districts 1-13, my opinion is the same as it was for the Congressional maps

  in that area. It is my thought that VRA could have been accomplished in conjunction with COI

  and I will expound on this in my conclusion. Allegan County is split needlessly three times and

  Ottawa County is split needlessly two times after hundreds of comments from its residents about

  the county being a COI and from what I saw maybe one or two (I distinctly remember one)

  views that felt otherwise, yet they were split, and it was said that was a “compromise” when

  there was no need for it. The Commission split up three counties so that 3 cities could be

  considered a COI in District 35. It can also be argued that District 15 could have been

  accomplished in one county without taking a chunk out of Lenawee.



                                     State House Hickory Plan

         State House plan “Hickory” is the worst offender of them all not only in my opinion

  disenfranchising African American voters but as well as rural voters and voters in Northern

  Michigan. The U.P. commented that their counties are their COI and not to split them. District

  107 needlessly splits three counties. District 104 is one of the most egregious splits in Northern

  Michigan, splitting 6 counties and not in the name of COI! District 110 splits two counties.

  While I drew this district, upon going back and editing and reviewing COI, I found it could have

  been redrawn in a way that kept counties whole and still maintained COI and county boundaries.

  District 97 splits four counties. Jackson County was split four times, which is completely

  unacceptable, and their voices were ignored when they expressed that their county WAS/IS

  THEIR COI. Even if they were over population for one house district, every attempt should have

  been made to do the least number of splits to maintain their COI. District 28 goes into Monroe

  County and the voices of those from Monroe County were ignored. In looking at this district it


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  could have been maintained in Wayne County. District 43 splits four counties and is not

  compact. Lapeer County, which again is mostly rural, was split three times unnecessarily. Then

  we move into SE Michigan: Macomb, Oakland, and Wayne counties. We as a Commission

  failed this area horribly. It is my opinion that not only with the overwhelming amount of input

  from the citizens, especially the African American community but also the overwhelming call

  from the communities for us to keep drawing and have their voices better represented, we should

  have made additional changes. It’s my opinion that doing mediocre work is not OK when that

  work will affect communities for 10 years.



   Conclusion, Summary, Evaluation of Process including ranked criteria, public comment, etc.,

                  and my personal opinions on the work that got us to these maps.



  It is my belief, based off just the minimal examples expressed in the body of this report, that the

  Commission failed in its duty to draw fair maps. It is also my belief based off not only what I

  saw but also heard, that there was a definite bias not only politically but also geographically and

  racially in the drawing of these maps both in favor and against. It is my belief that the

  Commission did not take into consideration all the ranked criteria when evaluating each criteria,

  making sure each was met simultaneously. While some criteria such as political fairness had to

  be evaluated once an entire map was completed, the others could have and should have been

  looked at sincerely after each district was drawn. The excuse that time was a factor when you

  have citizens from both sides of the aisle and all over the state saying that the maps needed more

  work is unacceptable. The citizens spoke and said they did not want these maps for the next 10

  years and “we” ignored that because of time. It is my opinion that when the maps were being




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   drawn based on COIs, the Commission was doing a fairly good job, but once it got to political

   fairness things went off the track, by our own expert’s opinion and court case evaluation.

   ACCEPTABLE measures would be:

          Lopsided Margin: Less than 8%

          Mean Median: Less than 5

          Efficiency Gap: Less than 7%




         The Commission took these numbers to an extreme at the cost of breaking up COIs and,

  in my opinion, intentionally diluted the votes of rural populations by combining them with

  heavily populated urban areas that voted in a distinct way. It was also stated openly in a meeting

  by a commissioner that Northern Michigan was mostly white and really didn’t have any diversity.

  That statement showed, in my opinion, there was bias and discrimination toward people in

  Northern Michigan, which consists mostly of rural areas.

         When looking at criteria for SE Michigan, particularly those in the Detroit area, of course,

   the first is VRA, which we were given guidance from Mr. Adelson. While I personally did not

   agree with his and Dr Handley’s evaluation, I am not an expert and did not object either. Where I

   think the Commission failed in this aspect with the maps is that we should have not only

   considered VRA (or possibly gotten a second opinion) but combined it with COI. The citizens of

   Detroit, especially African American citizens, came out in strong numbers about their COI, even

   listing exact streets in some cases. I think these maps failed because we listened to our experts

   and a set of proposed numbers over the voices of the citizens of the state who were told they

   would get to pick their representatives by having their communities of interest kept intact. In

   using the term “cracking and packing” as it relates to VRA, packing is the “INTENTIONAL” act




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  of concentrating a group to reduce their voting power. I believe we as a Commission could have

  listened to the African American community and given them the districts that they asked for

  based off of the COI standpoint, regardless of if those districts were at 51% or even higher as

  long as it was what the community asked for, but we didn’t.

         This brings me back to criteria 3, COI. We as a Commission received a lot of public

  comments on what citizens saw as their COIs. I feel that in drawing these maps the Commission

  showed a serious lack of consistency in what they saw as being acceptable for COI and, in my

  opinion, treated different areas of the state in different ways. Maybe this was unintentional, but it

  happened. Point of fact: the Tri-Cities (Midland, Saginaw, Bay City). The Commission decided

  that three cities in three different counties was a COI and drew it to be such in two maps based

  off of one set of public comments for the area; Ottawa County literally had hundreds of

  comments, including a petition saying that the entire county was their COI, and gave examples

  of why, and the Commission intentionally split the county unnecessarily and then had a

  commissioner say it was a “compromise” when there was no need for compromise to the best of

  my knowledge. I only recall one written comment against the whole county being a COI. I drew

  maps that made Northern Michigan more compact and considered the COIs that were given for

  what I will call Central Northern Michigan and the Commission ignored what people in those

  areas said. A lot of the rural areas stated that their county is/was their COI and the Commission

  balked at that idea while saying that three cities in three different counties was a COI; again,

  there was a lack of consistency. I must agree with a lot of the public comment when they said

  their COI is their county, especially in rural areas where the population is not as condensed. It is

  my opinion that it is no different than saying, for an example, a five-block radius in Detroit that

  might hypothetically have 20,000 people is a COI because they have the same issues as far as




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  economics, environmental, etc. It is no different for a county that has 20,000 people; the issues

  may be different, but the community still exists.

         As for the criteria of favoring or disfavoring an incumbent, while I cannot speak for

  anyone but myself on this particular criteria, I can say that I did not look at any incumbent data

  as far as who represented what district in the old plans, were incumbents drawn out of new plans,

  etc. To make sure of this, I asked that Mr. Woods, the Communications and Outreach Director,

  not to send me any newspaper articles, at the advice of Legal Counsel Pastula, as it was said

  articles were being published that talked about incumbents and the districts they were in. I

  cannot speak to what other commissioners have or have not done regarding this criteria.

         Criteria 6: Districts shall reflect consideration of county, city and township boundaries.

  As described in the subsections of this report in regards to each set of maps, I think I have

  more than shown in the few examples given that as far as Criteria 6 is concerned, the

  Commission did an extremely poor job of considering this criteria, especially in rural areas

  where being split multiple times for no constructive reason negatively affects their

  representation, and again most rural areas came to this Commission and specifically stated that

  their county was/is their COI and their voices were blatantly ignored.

         Last Criteria: Districts will be reasonably compact. Again, just by looking at the

  examples I gave for each map, it is easy to see that this criteria was not met. I did a map that

  outperformed all other maps, including the current Legislative maps, when it came to this criteria

  that could have at least been considered for certain areas.

         In closing, I would like to give my final perspective and opinion as it relates to the

  process, the work performed, and the concerns I have that I think could have influenced the maps

  as they were adopted.




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          First is the outreach. I was very vocal throughout this process on how I feel the outreach

   for the rural communities was not given as much commitment, time, or funds as the urban and

   more populous parts of the state. I repeatedly asked our Communications and Outreach Director

   to reach out to certain areas or groups, to which he said he would but never produced. I was told

   that there were lots of town halls done in rural communities, yet when the list circulated it was

   shown not to be the case. It is my opinion that there was extreme bias in the outreach. When it

   came to public hearings, I feel it was always quickly recommended to cut potential rural venues

   even though having only two for all of Northern Michigan, including the U.P., would make it

   harder for people to participate in person, especially in areas where internet could be considered

   spotty at best, which also limited access to participating online. The Commission approved funds

   requested by the Communications Director to hire an “influencer” to get more people to the Flint

   hearing because he felt turnout the first time around wasn’t great but did not give the same

   consideration to any other areas. It is my opinion that areas picked for public hearings were very

   politically biased and a better job could have been done to make sure it was more of an equal

   mix.

          Next is transparency. I have grave concerns on this issue. It is my belief by things I

   saw, things I personally heard, and things that I read that transparency was lacking! I also

   believe the public comment portal was a mess. I asked repeatedly if there was a way to make

   it easier to navigate as a commissioner and print out public comment, and the use of

   “hashtags” to help search … really? If you don’t know what the public is going to use for a

   hashtag for a particular area, how do you know what to search? Also, I had issues with not

   getting attachments that were uploaded to the portal in a timely fashion (I’m still waiting on

   recently uploaded material from January).




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           This whole process has honestly saddened me and proved to me what my concern was all

   along for this amendment and what is “fair.” I would dare ask is it “fair” that the African

   American population came out in strong numbers and told us what they wanted, and we didn’t

   provide that? Is it fair that rural communities came out and told us what they wanted (some

   driving long distance) and we ignored it? Is it fair that the only two considerations that were

   given to the U.P. were trying to combine two cities (again in different counties) to make a district

   and the second being looking to try not to split the Native American population — which don’t

   get me wrong, I am fine with that — but in turn didn’t listen to the other voices we heard from?

   Is it fair that organized groups’ voices were heard louder and dare I say drowned out the voices

   of lone citizens who took time off from work or drove long distances and sat for hours just to be

   heard? The list goes on and on. I realize we absolutely couldn’t make everyone happy but more

   serious and unbiased consideration should have been given to all.

           While I think these maps are truly not representative of the entire state and the input we

   received, if anything good comes out of this I hope that future commissions really listen to the

   public not about politics but about the people’s needs, their communities, their beliefs, and that

   they don’t judge or show bias toward them for that because in the end I think all anybody

   really wants is to live their lives to the fullest the way they see fit.

           This will conclude my report. While I can go on and on about my experiences and things

   I observed, heard, etc., this is not the place to do it, although on a personal privilege note, I know

   that commissioners do not particularly care for me and that’s OK. I volunteered for this

   Commission to do a job and if I feel something isn’t right I’m going to say it, regardless of if it

   goes against the views of others or the narrative, because I am a member of this Commission

   like it or not and my job was not to make the Commission happy and portray a narrative to the




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   media just to advance the career of someone or so some organization could win a Pulitzer or any

   of the other B.S. that was floated my way, stuff that I repeatedly said I could not care less about.

   The only reason I applied for this position was I wanted to make sure of two things and that was

   that the maps were fair for EVERYONE in the state from the very northern tip of the U.P. to the

   very SE corner of the Lower Peninsula and to make sure that everyone’s voice was heard and

   considered EQUALLY! I feel that as a Commission we failed and for that I truly apologize to all

   the citizens of the State of Michigan.




          Commissioner Rhonda Lange




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